Case: 1:21-cv-01154 Document #: 67 Filed: 02/27/23 Page 1 of 9 PagelD #:400

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
GENERAL ORDER 23-0010

Pursuant that to the Executive Committee Order entered on February 23, 2023, the civil cases on the
attached list have been selected for reassignment to form the initial calendar of the Honorable Lindsay C.
Jenkins; therefore

IT IS HEREBY ORDERED that the attached list of 281 cases be reassigned to the Honorable Lindsay
C. Jenkins; and

IT IS FURTHER ORDERED that all parties affected by this Order must review the Honorable Lindsay
C. Jenkins’ webpage on the Court’s website for the purpose of reviewing instructions regarding scheduling and
case management procedures; and

IT IS FURTHER ORDERED that any civil case that has been reassigned pursuant to this Order will not
be randomly reassigned to create the initial calendar of a new district judge for twelve months from the date of
this Order; and

IT IS FURTHER ORDERED that the Clerk of Court is directed to add the Honorable Lindsay C. Jenkins
to the Court's civil case assignment system during the next business day, so that she shall receive a full share
of such cases; and

IT IS FURTHER ORDERED that the Clerk of Court is directed to add the Honorable Lindsay C. Jenkins

to the Court's criminal case assignment system ninety (90) days so that Judge Jenkins shall thereafter receive
a full share of such cases.

ENTER:

FOR THE EXECUTIVE COMMITTEE

 

Dated at Chicago, Illinois this 27th day of February, 2023
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Civil Cases Reassigned from Judge Alonso to Judge Jenkins

1:19-cv-01098
1:19-cv-03320
1:19-cv-06832
1:20-cv-02396
1:21-cv-01145
1:21-cv-01154
1:21-cv-06371
1:22-cv-02925
1:22-cv-05074
1:22-cv-06750
1:23-cv-00156
1:23-cv-00658

Almond v. City of Chicago, et al

Lewis v. Chicago, et al

The State Bank of Geneva v. Acosta et al
Rivera v. Sheehan, et al.

West v. Home Depot

Kinman v. The Kroger Co.

British Airways, PLC v. The City of Chicago
Ledesma v. Orland Park Wedding Center, Inc.
Lopez v. City of Burbank, et al
Cotto/Capeles v. Johnson, et al

Thyme v. University of Chicago, et al
Gonzalez et al v. Blinken et al

Civil Cases Reassigned from Judge Aspen to Judge Jenkins

1:16-cv-02780
1:20-cv-07406
1:21-cv-03236
1:22-cv-02546
1:22-cv-04169
1:22-cv-05757

Gemini Insurance Company et al v. Pelican General Insurance Agency,
Altheimer-Umphlett v. Dejoy

Rosiles v. Village of Round Lake Beach et al

Brewer v. HMT LLC et al

Romans v. Orange Pelican, LLC

Architectural Iron Workers' Local No. 63 Welfare Fund et al v. Legna Installers, Inc. et al

Civil Cases Reassigned from Judge Blakey to Judge Jenkins

4:18-cv-08011
1:20-cv-05383

1:20-cv-05341
1:20-cv-05368

1:20-cv-06761
1:20-cv-06935
1:21-cv-05441
1:21-cv-05581
1:22-cv-01958
1:22-cv-02286
1:22-cv-04382

1:22-cv-05740
1:22-cv-06781
1:23-cv-00236

Brown v. Unknown Chicago Police Officers
Bernard v. Ullinois Department of Corrections et al
Bernard v. Illinois Department of Corrections et al
Bernard v. Illinois Department of Corrections et al
Soni v. Burlington Coat Factory of Illinois, LLC
Minge v. Stroger
Midway Wholesalers Inc. v. Encova Insurance
Penland et al v. Chicago Park District et al
Garcia v. Dart et al
FK Construction Funding, LLC v. Great Midwest Insurance Company
Blue Sphere, Inc., d/b/a Lucky 13 and Robert A. Kloetzy v. The Individuals,
Corporations, Limited Liability Companies, Partnerships, and Unincorporated
Associations Identified on Schedule A Hereto
Tanna v. Greene
Brown v. Norfolk Southern Railway Company
Counts v. Arkk Food Company et al

Civil Cases Reassigned from Judge Bucklo to Judge Jenkins

1:17-cv-04185
1:19-cv-05308
1:21-cv-01179
1:21-cv-01938
1:21-cv-06084
1:22-cv-01507
1:22-cv-03841

1:22-cv-04765

Crandall v. 4Demand LLC et al

Sage Products, LLC v. ChemRite CoPac, Inc.

Stewart Ill v. Illinois Department of Transportation

Krause v. RocketReach, LLC

Sullivan et al v. Liberty Mutual Insurance Company

Callan Ave., LLC v. Greater New York Mutual Insurance Company

Beer Industry Local Union No. 703 Health and Welfare Fund et al v. Louis Glunz Beer,
Inc.

Gardner v. Allstate Vehicle and Property Insurance Company

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1:22-cv-05759
1:22-cv-05938
1:22-cv-07133
4:23-cv-00142
1:23-cv-00615

Konect Management, LLC v. Power Kiosk, LLC
Chavez v. AK 22nd., Inc. et al

Cohan v. Knight Bridge Pkwy LLC

Temraz v. Mayorkas et al

Cummings v. Medica Director et al

Civil Cases Reassigned from Judge Chang to Judge Jenkins

1:19-cv-01094
1:19-cv-01984
1:21-cv-00161
1:21-cv-00522
1:21-cv-05780
1:21-cv-05965
1:22-cv-01874
1:22-cv-02035
1:22-cv-03926
1:22-cv-05890
1:22-cv-06804
1:23-cv-00320

Coleman v. City Of Chicago et al

Federal Trade Commission v. Day Pacer LLC et al.

Hirsch v. Cognizant Technology Solutions U.S. Corp.

Richardson v. Northwestern University et al

Walker v. Walgreens Specialty Pharmacy, LLC

BNSF Railway Company v. Brotherhood of Railroad Signalmen et al
Loandepot.com, LLC v. Schneider et al

Vesley v. Illinois School District 45 et al

Hamillton v. Cook County Jail et al

Ferrero U.S.A., Inc. v. Ercoli

Consolidated Transaction Processing LLC v. ARO Liquidation, Inc.
Saeed v. Mayorkas et al

Civil Cases Reassiqned from Judge Coleman to Judge Jenkins

1:19-cv-03775
1:19-cv-05329
1:20-cv-07773

1:21-cv-05278
1:22-cv-03964
1:23-cv-00744

:21-cv-00338
:21-cv-06898
:22-cv-00049
:22-cv-03013
:22-cv-03091
:22-cv-05116

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1:22-cv-06363
1:23-cv-00011
1:23-cv-00661

Rankins v. Allied Power Products, Inc. et al
Smith v. Portwood et al
Norwood v. Czerniak et al
Norwood v. Directo et al
Norwood v. Davis, et al
Norwood v. Kane County Jail et al
Stephenson v. City of Chicago et al
Howell v. Bumble, Inc. et al
Moreno v. Inv. Converse et al
United States Of America et al v. Allergan PLC et al
Vasquez v. VNA Healthcare, Inc.
Trustees of the Mid-America Carpenters Regional Council Pension Fund et al v. Ideal
Construction Co.
Evans v. S. C. Johnson & Son, Inc. et al
Anderson v. Dejoy et al
Trustees of the Line Construction Benefit Fund v. Tucker Underground, LLC et al

Civil Cases Reassigned from Judge Durkin to Judge Jenkins

1:13-cv-00817
1:17-cv-08714
1:18-cv-07098
1:19-cv-05807
1:20-cv-00794
1:20-cv-00501

1:20-cv-04525
1:20-cv-04531
1-22-cv-3874

1:21-cv-00738
1:21-cv-03745
1:22-cv-02024

Plummer v. Harrington

Gudkovich v. City Of Chicago

Aguilar v. City of Chicago et al

Martin v. Blair et al

Rankin v. Chicago Park District et al

Roundtree Jr v. Dart et al
Roundtree, Jr. v. Dart et al
Roundtree, Jr. v. Cook County Health and Hospital Services et al
Roundtree, Jr. v. County Of Cook et al

Johnson v. Edward et al

Black v. First Impression Interactive, Inc. et al

Wang et al v. Individuals, Partnerships, and Unincorporated Associations on Schedule A

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1:22-cv-04038
1:22-cv-06080

1:22-cv-07 162

Cantieri v. Marriott International, Inc.

Fox Valley & Vicinity Construction Workers Welfare Fund et al v. Divine Cement, Inc. et
al

Salon Phoenix Cosmetology LLC et al v. Groupon, Inc.

Civil Cases Reassigned from Judge Ellis to Judge Jenkins

1:19-cv-03892

1:22-cv-03445

1:19-cv-04082
1:20-cv-06004
1:20-cv-06401
1:21-cv-03730
4:21-cv-04295
4:22-cv-00482

1:22-cv-01408
1:22-cv-03523
1:22-cv-03656
1:22-cv-05031
1:23-cv-00609

Moore v. Wexford Health Services, Inc. et al
Moore v. Jackson et al
Brown et al v. City of Chicago et al
Jackson v. Vasquez et al
GCM Partners, LLC v. Hipaaline Ltd. et al
The Cincinnati Insurance Company v. Great Northern Investments of Main Inc. et al
Hanson Aggregates Midwest, Inc. v. Ochoa
Atain Specialty Insurance Company v. Adventure Facility Concepts and Management,
LLC etal
Hanafin et al v. General Motors Company
Sama California Auto Export, Inc. v. Silkway West Airlines, LLC
Costin v. Mayorkas et al
Mondia v. The University of Chicago Medical Center
Midwest Operating Engineers Welfare Fund et al v. Global Builders Inc.

Civil Cases Reassigned from Judge Gettleman to Judge Jenkins

1:19-cv-00529
1:19-cv-04409
1:19-cv-03316
1:21-cv-05862

1:21-cv-06937
1:21-cv-06439

1:22-cv-03733
1:22-cv-04267
4:22-cv-04374
1:22-cv-05713
1:22-cv-06280
1:23-cv-00395

1:23-cv-00462

NOOR Staffing Group LLC v. Staff Management Solutions, LLC et al

United States Securities and Exchange Commission v. Conwell et al

Byrd v. City of Chicago et al

Chicago & Vicinity Laborers’ District Council Pension Fund et al v. William A. Randolph,
Inc.

Drummond Development LLC v Fairchild US LLC

Chicago & Vicinity Laborers’ District Council Pension Fund et al v. Continental
Construction Company, Inc. et al

Abraham v. Community Alternatives Unlimited

The Lincoln National Life Insurance Company

Jackson v. CITY OF CHICAGO et al

Castelaz et al v. The Estee Lauder Companies Inc. et al

Allstate Insurance Company v. Electrolux Home Products, Inc.

Central States, Southeast and Southwest Areas Health and Welfare Fund et al v. Reed
et al

Allgood v. CNA International, Inc.

Civil Cases Reassigned from Judge Gottschall to Judge Jenkins

1:18-cv-06521
1:20-cv-04765
1:22-cv-04143
1:22-cv-05348
1:23-cv-00192

Savis, Inc. v. Cardenas

Kay v. Takeda Pharmaceuticals U.S.A, Inc. et al

Kwiatkowski v. The Walsh Group, LTD

Walker v. City Of Chicago et al

Federal Insurance Company v. Air China Cargo Co., Ltd. et al

Civil Cases Reassigned from Judge Guzman to Judge Jenkins

1:19-cv-06155
1:21-cv-03402
1:22-cv-03773

IQL Riggig, LLC v. Kingsbridge Technologies et al
Pekin Insurance Company v. Ford Motor Company
Williams et al v. City Of Chicago et al

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1:22-cv-05842
1:22-cv-07025
1:23-cv-00513

Coleman v. City Of Chicago et al
Shannon v. City of Chicago et al
Jones v. Celeritas Freight Solutions, LLC

Civil Cases Reassiqned from Judge Kendall to Judge Jenkins

1:19-cv-00767
1:21-cv-01094
1:21-cv-03684

1:22-cv-02375
1:22-cv-03043

1:22-cv-05122
1:22-cv-05541
1:22-cv-06536
1:22-cv-06639
1:22-cv-07297
1:22-cv-07335
1:23-cv-00520

Blackmon v. City of Chicago et al

Promier Products, Inc. v. Orion Capital, LLC

Central States, Southeast and Southwest Areas Pension Fund et al v. Wingra Redi-Mix,
Inc. et al

Kim v. Maha, Inc. et al

Emoji Company GmbH v. The Individuals, Corporations, Limited Liability Companies,
Partnerships, and Unincorporated Associations Identified on Schedule A Hereto
Fountains of Arlington HOA v. Insurance Company of Greater New York

Grant v. Ryder Integrated Logistics, Inc.

Cohan v. SuperValu, Inc.

Toribio v. The Kraft Heinz Company

Sandoval v. Sieczka, Star No. 6373

United States of America v. Harco Insurance Co.

John Doe v. The Partnerships and Unincorporated Associations Identified on Schedule
A

Civil Cases Reassigned from Judge Kennelly to Judge Jenkins

1:18-cv-05130
1:20-cv-03765
1:21-cv-01652
1:21-cv-03196
1:22-cv-00698
1:22-cv-00987
1:22-cv-03098
1:22-cv-03535
1:22-cv-04700
1:22-cv-04940
1:22-cv-06042
1:22-cv-07092
1:23-cv-00496

Smith v. City Of Chicago et al

Sparks v. Michalski et al

Retamozo v. U.S. Bancorp d/b/a U.S. Bank

Bailey v. Dart et al

Wesco Insurance Company v. Zanayed et al

Garcia et al v. The Professional Locksmith, Inc., an IIllinois Corporation et al
Garza v. Nestle USA, Inc.

Gesture Technology Partners LLC v. Motorola Mobility LLC

Corn v. Target Corporation

Ferguson v. Doe et al

Roofers' Pension Fund et al v. S&H Waterproofing and Construction, LLC
Walsh v. OM MATTESON PIZZA, INC., an Illinois corporation, et al
CamelBak Products, LLC v. The Partnerships and Unincorporated Associations
Identified on Schedule A

Civil Cases Reassiqned from Judge Kness to Judge Jenkins

1:18-cv-04402
1:19-cv-07557
1:20-cv-00290
1:20-cv-06921
1:21-cv-00264
1:21-cv-03976
1:22-cv-00347
1:22-cv-02879
1:22-cv-05645
1:22-cv-05991
4:22-cv-07097

Hope v. Ford Motor Company

Bass v. Sgt. A. Dakuras et al

Artisan & Truckers Casualty Co. v. Dollar Tree Stores Inc et al
Hua v. Arthur J. Gallagher & Co.

Bunetto v. Saul

Mata v. Deslauriers, Inc

Warnsley v. Villegas et al

Holloway v. Dejoy

Oldham v. Ralphs Grocery Company

Wright Jr. v. City of Chicago et al

The Orchards Townhome Owners Association, LLC v. Greater New York Mutual
Insurance Company
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1:23-cv-00558

Chrome Cherry Limited v. The Partnerships and Unincorporated Associations Identified
on Schedule A

Civil Cases Reassigned from Judge Kocoras to Judge Jenkins

1:19-cv-00127
1:19-cv-02707
1:20-cv-00774
1:20-cv-05630
1:21-cv-00508
1:21-cev-02728
1:21-cv-05548
1:22-cv-00607
1:22-cv-05456
1:22-cv-06495
1:22-cv-06868
1:23-cv-00194
1:23-cv-00617

Blair v. Chicago et al

Moore v. PNC Bank

Plumbers' Pension Fund, Local 130, U.A. et al v. Republic Piping Systems, Inc.
Jackson v. City Of Chicago et al

Raysby v. Advocate Health Care Center

Zuru (Singapore PTE., Ltd. et al v. The Individuals, Corporations, Limited Liability
Companies, Partnerships, and Unincorporated Associations Identified on Schedule A
Hereto

Robinson v. Rainbow Beach Extended Care Center

Gomez v. Village of Forest Park et al

Executive Risk Indemnity, Inc. et al v. Health Care Service Corporation

Mayfield et al v. Escobedo et al

Jackson v. Village of Lansing et al

Rockit Ranch Productions, Inc. et al v. West Bend Mutual Insurance Company
Richardson v. Northwestern Memorial Healthcare et al

Civil Cases Reassigned from Judge Lefkow to Judge Jenkins

1:13-cv-05272
1:20-cv-05418
1:21-cv-05192
1:22-cv-01263
1:22-cv-04515
1:22-cv-06522

Pacheco v. City of Joliet et al

Scottsdale Indemnity Company v. Mirmeg Cartage, Inc. et al
Gaines v. Dart et al

Guaderrama v. City Of Chicago Police Department et al
Griffin et al v. Calumet Park IL Police Dept et al

Davidson v Faria Education Group Limited

Civil Cases Reassiqned from Judge Leinenweber to Judge Jenkins

1:17-cv-05921
1:18-cv-07079
1:19-cv-02185
1:22-cv-00389
1:22-cv-05358

1:23-cv-00304

Laborers Pension Fund et al v. Ruane Construction, Inc.

Valsamis v. John Crane, Inc.

Rilwala Properties Management, LLC et al v. Sheth

Levin v. Altisource Solutions, Inc.

U.S. Bank National Association, as Trustee for Morgan Stanley Bank of America Merrill
Lynch Trust 2013-C13, Commercial Mortgage Pass-through Certificates, Series 2013-
C13 v. Chicago South Loop Hotel Owner, LLC et al

Wham-O Holding, Ltd. et al v. The Partnerships and Unincorporated Associations
Identified on Schedule A

Civil Cases Reassigned from Judge Maldonado to Judge Jenkins

1:17-cv-07991
1:19-cv-08437
1:21-cv-00085
1:21-cv-01534
1:21-cv-03940
1:21-cv-06239
1:21-cv-06855
1:22-cv-00226

1:22-cv-03860

Doe v. Board of Trustees of Northern Illinois University

Gomez v. Rihani et al

State of Illinois Ex. Rel Ken Elder v. JPMorgan Chase N.A.

Quality Custom Distribution v. International Brotherhood of Teamsters, Local 710

Villalpando v. A-1 Outdoor Maintenance, Inc., et al

Collier v. Illinois Department of Human Services

Wilim v. Mondelez Global LLC

Direct Steel, LLC v. American Buildings Company
United States of America, ex rel. Direct Steel LLC, d/b/a Direct Steel and
Construction v. American Buildings Company

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1:22-cv-02975
1:22-cv-06020
1:22-cv-07037
1:23-cv-00605

Shanmugavelandy v. AbbVie, Inc

Wilson v. Village of University Park et al
Peaster v. McDonald's Corporation et al
Solis Duerte v. MK Simplemart, Inc. et al

Civil Cases Reassigned from Judge Pacold to Judge Jenkins

1:17-cv-07876
1:18-cv-02475
1:19-cv-03054
1:20-cv-01860
1:20-cv-05037
1:20-cv-07786
1:21-cv-05063
1:22-cv-02126
1:22-cv-04345
1:22-cv-05844
1:22-cv-06931
1:23-cv-00401

Rucker v. Kallman et al

Hannon v. City of Prospect Heights et al

Washington v. The Kroger Co.

Smith v. Rushmore Loan Management Services, LLC et al

Vale et al v. City of Chicago et al

Koller v. United States of America et al

Hoffberg v. Elliott Auto Supply Co.,Inc. d/b/a Factory Motor Parts
Brown v. Jeffrey et al

Mayer v. Laufer Trucking, Inc. et al

Key et al v. City Of Chicago et al

Johnson v. Meade et al

Midwest Operating Engineers Welfare Fund et al v. Divine Cement, Inc.

Civil Cases Reassigned from Chief Judge Pallmeyer to Judge Jenkins

1:16-cv-00291
1:19-cv-04001
1:21-cv-06189
1:22-cv-04998
1:22-cv-07064
1:23-cv-00057

Moore v. Truitt

Mack v. City of Chicago et al

Harrington v. Hayes

Eskridge v. Dufresne Spencer Group LLC

Asstari X v. State of Illinois (Inc.)

Those Characters from Cleveland, LLC v. The Individuals, Corporations, Limited Liability
Companies, Partnerships, and Unincorporated Associations Identified on Schedule A
Hereto

Civil Cases Reassigned from Judge Rowland to Judge Jenkins

1:19-cv-03691
1:20-cv-02014
1:20-cv-07379
4:21-cv-02025
1:21-cv-04949
1:21-cv-05375
1:22-cv-02682
1:22-cv-03953
1:22-cv-05313
1:22-cv-05963
1:22-cv-07147
1:23-cv-00532

Davis et al v. The City of Chicago, Illinois

Royan v. Chicago State University

Chillmon v. Village of Evergreen Park Illinois

Smith v. Signature Systems, Inc.

Brown v. Cook County Health and Hospital Services et al

Flanagan v. Apollo Endosurgery, Inc.

McDonald's Corporation et al v. Hiscox Dedicated Corporate Member Limited et al
Randall v. Nurse

Think Products, Inc. v. Microsoft Corporation

Gardner et al v. MeTV

Dubose v. Ferrara Candy Co.

Herrera v. Raoul, in his official capacity as Attorney General for the State of Illinois et al

Civil Cases Reassigned from Judge Seeger to Judge Jenkins

1:18-cv-01192
1:19-cv-05170

1:21-cv-03354

1:21-cv-03455
1:21-cv-04367
1:22-cv-01074

Ruebe et al v. Nexus Executive Risks Ltd. et al
Geske v. PNY Technologies, Inc.

Jacobs v. PNY Technologies, Inc.
Koumjian v. Mudd Law Offices et al
Franklin v. Maximus, Inc.
Reed v. Dart et al
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1:22-cv-01979
1:22-cv-03804
1:22-cv-04153
1:22-cv-05599

1:22-cv-05893
1:22-cv-06823
1:23-cv-00260

Rodriguez v. United States of America (FTCA)

Michigan Motor Technologies, LLC v. Bayerische Motoren Werke AG et al

Perez v. Albany Restaurant, Inc. et al

Blue Sphere, Inc. v. Partnerships, and Unincorporated Associations Identified on
Schedule A Hereto

White v. City of Chicago et al

Lemane v. Mayorkas et al

General Motors LLC v. The Partnerships and Unincorporated Associations Identified on
Schedule A

Civil Cases Reassiqned from Judge Shah to Judge Jenkins

1:18-cv-07846
1:20-cv-01419

1:21-cv-02461

1:21-cv-05238
1:21-cv-06693
1:22-cv-02389
1:22-cv-03020
1:22-cv-04373
1:22-cv-04736
1:22-cv-05993
1:22-cv-06194
1:22-cv-07139
1:22-cv-07346

Stennis v. Armstrong et al
Arbuckle v. Wilcox et al
Arbuckle v. Garcia et al
Sledz v. McDowell, et al.
Williams v. Avis Budget Group, Inc.
Swaro v. Logsdon Fleeting and/or Logsdon Tug Service, Inc.
Wheeler v. Lyles
Wallace v. Kijakazi
Campbell v. Catholic Charities Diocese of Joliet
Garrett v. Clouse
Madukwe v. Board Of Trustees Of The University Of Illinois
American Family Insurance v. Dayton Electric Manufacturing Co.
Hines v. Goodleap, LLC et al

Civil Cases Reassigned from Judge Tharp to Judge Jenkins

1:17-cv-05648
1:18-cv-08477
1:19-cv-07258

1:20-cv-01678
1:21-cv-02552
1:21-cv-02403
1:22-cv-01285
1:22-cv-02143
1:22-cv-04335
1:22-cv-05987
1:22-cv-06955
1:23-cv-00503

Zurbriggen et al v. Twin Hill Acquisition, Inc.

Rosa v. The Board of Trustees of The University of Illinois

Pension Plan of Lumber Employees Local 786 Retirement Fund, The et al v. Charles
Horn Lumber Company et al

Beard v. United Parcel Service et al

Podrebarac v. McDonough

George Moore v Independence American Insurance Company

Wilson v. Williams et al

McDonald v. Yarbrough et al

Duff v. Chief Management LLC et al

Edge v. Stericycle, Inc.

Hymon v. La Quinta Inns, Inc., et al

Pipe Fitters' Retirement Fund, Local 597 et al v. Mechanical Concepts of Illinois, Inc.

Civil Cases Reassiqned from Judge Valderrama to Judge Jenkins

1:14-cev-02799
1:18-cv-06633
1:19-cv-03331
1:20-cv-01121
1:20-cv-03551
1:20-cv-04716
1:20-cv-07775
1:21-cv-04715
1:21-cv-05991
1:22-cv-02575

Gutierrez v. Jones

Gonzalez v. Home Depot U.S.A, Inc.

Patel v. Brennan et al

Williams et al v. State Farm Mutual Automobile Insurance Co. et al

Donets v. Vivid Seats LLC

Stokes v. City Of Chicago et al

Grimaldo v. Mental Health Department of Human Services et al.

Stubbs v. City of Chicago, et al

Modern Builders Contractors, Inc. et al v. Griggs, Mitchell, & Alma of IL, LLC et al
Zimmer Biomet Holdings, Inc. v. Insall

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1:22-cv-04284
1:22-cv-06314
1:22-cv-07158

Ree v. City of Chicago et al
Rollins v. Medline Industries, Inc.
French v. Tribune Publishing Company

Civil Cases Reassigned from Judge Wood to Judge Jenkins

1:17-cv-07378
1:17-cv-08846

Sharma v. Board of Trustees of the University of Illinois
Mansoori v. Brown et al

1:21-cv-05881
1:21-cv-06173
1:21-cv-06242
1:21-cv-06379
1:22-cv-01632
1:22-cv-01634
1:22-cv-01635
1:22-cv-01638
1:22-cv-01640
1:22-cv-01641
1:22-cv-01642
1:22-cv-02469

Mansoori v. Squires et al
Mansoori v. Morrison
Mansoori v. Smith et al
Mansoor v. Milly et al
Mansoori v. Stinacki et al
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